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 6
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )                CASE NO. 1:07-CR-316 LJO
                                 )
11        Plaintiff,             )
                                 )                ORDER AFTER HEARING
12       v.                      )
                                 )
13   LYNN TRUONG,                )
                                 )
14               Defendant.      )
     ____________________________)
15
           This matter came on calendar regularly for a status conference on
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     September 23, 2011 before the Hon. Lawrence J. O’Neill, United States District
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     Court Judge. The United States was represented by Karen Escobar, Assistant
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     United States Attorney. The defendants were represented by their counsel.
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           The court having considered the oral application of the defendants seeking
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     discovery of the results of handwriting exemplars given by the defendants, and
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     submitted by the United States to the State of California Department of Justice,
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     Bureau of Forensic Services for analysis, and GOOD CAUSE APPEARING, the court
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     orders that the results of the analysis of any such handwriting exemplar given by
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     any defendant in this action, shall be delivered to the defendants no later than
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     October 21, 2011.
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           Failure to deliver the results of analysis of the handwriting exemplars, by
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     October 21, 2011, shall result in exclusion from evidence of the results of any such
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 1   handwriting exemplar against the defendants in this action.
 2            In the event that analysis of handwriting exemplars is not/cannot be
 3   completed by October 21, 2011, it is the further order of the court that all
 4   exemplars provided by any defendant be returned to the government forthwith.
 5   The government is ordered to provide in discovery, to each defendant, his or her
 6   handwriting exemplars to permit defense counsel to timely determine whether to
 7   seek independent analysis of said handwriting exemplar.
 8            The government is ordered to transmit the instant order to the State of
 9   California, Department of Justice, Bureau of Forensic Services, within two business
10   days of issuance of this order.
11            This Order does not affect the usual permitted usage of such material on
12   rebuttal/impeachment.
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16   IT IS SO ORDERED.
17   Dated:     October 5, 2011               /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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